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                              UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF INDIANA
                                  INDIANAPOLIS DIVISION

  National Fair Housing Alliance, Inc. et al.,
                                            )
                                            )
               Plaintiffs,                  )
                                            )
  v.                                        )                 Case No. 1:10-CV-0993-RLY-DML
                                            )
  S.C. Bodner Company, Inc.., et al.,       )
                                            )
               Defendants.                  )
  __________________________________________)


                                    STIPULATED JUDGMENT

         This Stipulated Judgment is entered into this 12th day of October 2012 by and between

  Plaintiffs National Fair Housing Alliance, Inc. (“NFHA”), Savannah-Chatham County Fair

  Housing Council, Inc., and Metro Fair Housing Services, Inc. (collectively “Plaintiffs”) and

  Defendants Brooklyn Place TIC I, LLC through Brooklyn Place TIC XXIX, LLC (collectively

  “Brooklyn Defendants”).

                      I. PURPOSES OF THE STIPULATED JUDGMENT

         WHEREAS Defendants Brooklyn Place TIC I, LLC through Brooklyn Place TIC XXIX,

  LLC are 29 limited liability companies that own Brooklyn Place Apartments at 6830 Brooklyn

  Court, Evansville, Indiana 47715;

         WHEREAS, on May 10, 2011, Plaintiffs filed an Amended Complaint against the

  Brooklyn Defendants and others in the United States District Court for the Southern District of

  Indiana, case number 1:10-cv-00993-RLY-DML, alleging that, as more fully set forth in

  Plaintiffs’ Amended Complaint, the Brooklyn Defendants, knowingly or with sufficient time to

  discover and correct these deficits, rented units at Brooklyn Place Apartments which were not
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  readily accessible to and usable by persons with disabilities, in violation of the Fair Housing Act

  (FHA);

           WHEREAS the Brooklyn Defendants and Plaintiffs have engaged in discussions to

  resolve the allegations set forth in the Amended Complaint regarding access and environments

  for residents and visitors at Brooklyn Place Apartments; and, thereafter, the Parties have worked

  closely together to create a method to accomplish such a resolution and enhance accessibility and

  livability for disabled persons in the future and which will avoid future claims by NFHA affiliate

  members and others concerning the subject matter of the Complaint;

           WHEREAS the Parties, without liability, have concluded that it serves their respective

  interests to resolve the litigation and to avoid the expenditure of additional time, effort and

  resources in litigating disputes as to the subject apartment complexes; and they now wish to

  fully, finally, and forever settle and compromise the claims and defenses that each has in this

  action regarding these properties and to release, discharge, and terminate all claims, demands,

  controversies, suits, causes of action, damages, rights, warranties, liabilities and obligations

  between them relating to this property as described herein; and

           WHEREAS the Parties have entered into a Performance Protocol outlining the methods

  by which the retrofits will be completed and reviewed and intend that each and every term of the

  Performance Protocol be incorporated herein by this reference.

                         II. TERMS OF THE STIPULATED JUDGMENT

           Based upon the foregoing recitals, which are incorporated herein by this reference, it is

  hereby ORDERED, ADJUDGED AND DECREED as a Final Judgment that:

           A.     Settlement Payment

           The Brooklyn Defendants shall, no later than sixty (60) days from the entry of this



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  Stipulated Judgment by the Court but no later than December 30, 2012, make a Settlement

  Payment, pursuant to the Performance Protocol, as compensation to Plaintiffs (including

  reimbursement of attorney’s fees). No portion of the Settlement Payment is intended for, or will

  be utilized by, the Brooklyn Defendants to make any building or property more accessible or

  accommodating to any disabled person.

         B.     Retrofitting of Design and Construction Elements

                1. The Brooklyn Defendants shall make the accessibility-related changes on the

         Appendix A.

                2. All retrofits to the building entrances, accessible routes and the public and

         common use areas on Appendix A shall commence as soon as reasonably possible after

         date of the entry of this Stipulated Judgment by the Court and shall be completed not

         more than twelve (12) months from same, unless the Parties agree otherwise in writing.

                3. Unless a tenant has requested expedited retrofitting, pursuant to Paragraphs

         B.4 and B.5 below, retrofits to the interiors of “covered multifamily dwellings,” as that

         term is defined by 24 C.F.R. § 100.201, shall commence when the unit first becomes

         vacant following date of the entry of this Stipulated Judgment by the Court and shall be

         completed before the unit is re-occupied by a new tenant. Regardless of whether or not a

         vacancy arises, however, the Brooklyn Defendants shall perform these retrofits within

         twenty four (24) months from the end of the month in which the Court enters this

         Stipulated Judgment, unless the Parties agree otherwise in writing. The Brooklyn

         Defendants shall attempt, in good faith, to minimize any inconvenience to the residents.

                4. A resident or prospective resident of a “covered multifamily dwelling,” as that

         term is defined by 24 C.F.R. § 100.201, may request in writing that retrofits to their units



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        in Appendix A be performed on an expedited basis. In such instance, the Brooklyn

        Defendants shall commence and finish the Punch List retrofits as soon thereafter as is

        practical but not later than sixty (60) days following receipt of the request or as otherwise

        allowed by HUD. The Brooklyn Defendants shall pay all expenses associated with these

        retrofits and shall attempt, in good faith, to minimize any inconvenience to the residents.

               5. Within thirty (30) days from the date of the entry of this Stipulated Judgment

        by the Court, the Brooklyn Defendants shall provide a notice to the residents of each

        ground floor dwelling of their respective property informing the residents of the

        availability of interior retrofits under the terms of this Stipulated Judgment, and

        informing the resident that this work shall be completed without cost to them. The notice

        shall also include a proposed schedule for such work. Should any resident request any

        interior retrofit on Appendix A to his or her unit, the Brooklyn Defendants agree that

        within thirty (30) days of the receipt of the tenant’s written request or by a later date if

        specifically requested by the tenant or agreed to by the Parties, the Brooklyn Defendants

        will commence the requested retrofits for their property relating to the interior of the unit

        and complete the same as soon as reasonably practical thereafter. The expenses

        associated with the retrofits shall be borne by the Brooklyn Defendants.

               6.      Performance by the Brooklyn Defendants of their obligations as outlined

        in the Paragraphs B.1 through B.5 above shall constitute compliance with the terms of

        this Stipulated Judgment.

               7.      The sale or transfer, in whole or in part, of an ownership interest in a

        Brooklyn Place Apartments prior to the completion of retrofits in Appendix A shall not

        affect the Brooklyn Defendants’ obligation to complete the retrofit work provided for



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         under this Stipulated Judgment. In the event of such sale or transfer of interest, the

         Brooklyn Defendants will provide written notice to each buyer or transferee that they are

         required to complete the retrofits pursuant to this Stipulated Judgment. The Brooklyn

         Defendants shall either complete the retrofit work prior to the sale or transfer or obtain

         written consent of the new buyer(s)/transferee(s) to have the retrofits performed within

         the time frame allotted herein after the new owner takes possession. Not later than

         fourteen (14) days after such sale or transfer, the Brooklyn Defendants shall notify

         Plaintiffs in writing of actions that they have taken in accord with this provision. Upon

         such sale, the Brooklyn Defendants shall be fully dismissed, released and discharged

         from the obligations of this Stipulated Judgment, provided either that the retrofit work

         has been completed and certified prior to the date of sale, or the new owner has assumed

         and agreed to complete such work in accordance with the Stipulated Judgment.

         C.      General Release of All Claims

         For valuable consideration, the sufficiency and receipt of which is hereby acknowledged,

  Plaintiffs hereby release the Brooklyn Defendants and their respective past and present partners,

  officers and directors, their employees, agents, attorneys, accountants, advisors, consultants,

  subsidiaries, affiliated and parent entities and corporations, and each of their respective insurers,

  predecessors, successors and assigns (collectively, their “Affiliates”), of and from any and all

  claims, demands, debts, causes of actions, complaints, obligations, suits, liabilities, rights,

  commitments, judgments, suits at law or in equity, and obligations whatsoever, whether known

  or unknown, concealed, hidden, suspected or unsuspected, that they ever had or may now have,

  arising out of, or in any way related to, the facts and circumstances surrounding and alleged (or

  which could have been alleged) in the Amended Complaint regarding the subject apartment



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  complexes, including, but not limited to, claims related to the Fair Housing Act (Title VIII of the

  Civil Rights Act of 1968, as amended by the Fair Housing Amendments Act of 1988, and any

  and all amendments thereto), the Americans with Disabilities Act, and any similar federal, state

  or local accessibility laws.

         Plaintiffs, on behalf of themselves and their respective predecessors, successors, assigns,

  agents, directors and officers expressly covenant and agree to forever refrain from instituting,

  maintaining, prosecuting, continuing to maintain or prosecute any suit, action, administrative

  action or proceeding, or assisting others with any suit, action, administrative action, or

  proceeding involving the subject apartment complexes, subject to the terms and provisions set

  forth herein with regard to remedial actions. Plaintiffs agree that this Stipulated Judgment shall

  extinguish, and amount to a complete and final disposition and settlement of all claims Plaintiffs

  may have against the Brooklyn Defendants relating to all matters and issues involving Brooklyn

  Place Apartments which were alleged or could have been alleged in the Amended Complaint, or

  were raised or could have been raised in the Amended Complaint, including, but not limited to,

  any claims relating to the Fair Housing Act, the Americans with Disabilities Act, and any

  federal, state or local laws related thereto. It is understood and agreed that the remedial work is

  yet to be performed in accordance with the terms and provisions hereof, and that the Court

  retains jurisdiction to enforce the same.

           Plaintiffs’ counsel shall move to dismiss with prejudice and without costs (other than as

  agreed to and set forth in the Performance Protocol), all claims in the Amended Complaint with

  respect to Brooklyn Place Apartments and the owners of the same. However, the Parties

  covenant and agree that the District Court shall retain jurisdiction over this matter to enforce the

  terms of this Stipulated Judgment.



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         Plaintiff NFHA shall take all reasonable steps to secure the cooperation of its members to

  honor this Stipulated Judgment and to abide by NFHA’s decision to enter into this Stipulated

  Judgment. The Parties seek to avoid future litigation with respect to Brooklyn Place Apartments,

  which concerns the subject matter of Plaintiffs’ Amended Complaint, and to bring any such

  future claim by a member to NFHA’s attention for purposes of a mediated resolution with the

  Brooklyn Defendants.

         D.     Remedial Obligations

                1.       General Provisions. Subject to the terms of this Stipulated Judgment, the

         Brooklyn Defendants shall not discriminate in the rental of, or otherwise make

         unavailable or deny dwellings to people because of their disabilities in violation of the

         FHA, 42 U.S.C. § 3604(f)(1), or discriminate against people with disabilities in the

         terms, conditions, or privileges of rental of a dwelling in violation of the FHA, 42 U.S.C.

         § 3604(f)(2).

                2. Notice to Public:

                         a. Within ten (10) days of the date of execution of this Stipulated

                Judgment, and for a period of thirty-six (36) months thereafter, the Brooklyn

                Defendants agree to post and prominently display in the sales or rental offices of

                all covered multifamily dwellings owned in whole or in part or managed by them

                a sign no smaller than 10 by 14 inches indicating that all dwellings are available

                for rental on a nondiscriminatory basis. A poster that comports with 24 C.F.R. §

                110 will satisfy this requirement.

                         b. For a period of thirty-six months (36) from the execution of this

                Stipulated Judgment, the Brooklyn Defendants shall, in all advertising in



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                  newspapers, websites, or reprints of pamphlets, brochures and other promotional

                  literature regarding any covered multifamily rental property owned in whole or in

                  part or managed by them, place, in a conspicuous location, the universal symbol

                  of accessibility.

        E.        Findings

        The Court makes the following findings:

                  1.      The Parties have freely, voluntarily, and without coercion agreed to the

        entry of this Stipulated Judgment.

                  2.      The Court has personal jurisdiction over Plaintiffs and the Brooklyn

        Defendants for purposes of this Action and has jurisdiction over the subject matter of this

        Action.

                  3.      The provisions of this Stipulated Judgment shall be binding upon Plaintiffs

        and the Brooklyn Defendants.

                  4.      This Stipulated Judgment shall be deemed as having adjudicated, once and

        for all, the merits of each and every claim, matter and issue that was alleged or could

        have been alleged in the Amended Complaint as to the Brooklyn Defendants.

        Accordingly, res judicata and collateral estoppel shall apply to each and every such

        claim, matter and issue so that the Plaintiffs are forever barred from litigating such

        claims, matters and issues.

                  5.      Entry of this Stipulated Judgment is in the public interest.

                  6.      This Stipulated Judgment is for settlement purposes only and does not

        constitute an admission by the Brooklyn Defendants of any allegations contained in the

        Amended Complaint.



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               7.      Plaintiffs are acting as private attorneys general in maintaining this action

        and enforcing the provisions of the Fair Housing Act and Americans with Disabilities Act

        against the Brooklyn Defendants.

               8.      Therefore, the Court finds that any further legal or administrative action of

        any kind except for the enforcement of this Stipulated Judgment, instituted by any

        individual or entity arising from, based upon, or connected with the alleged failure of the

        Brooklyn Defendants in compliance with the provisions of the Fair Housing Act in the

        ownership and rental of the subject apartment complexes, would be moot.

        F.     Miscellaneous Provisions

               1.      Binding Effect. This Stipulated Judgment shall be binding upon and inure

        to the benefit of the Parties hereto, their respective heirs, successors and assigns.

               2.      Costs and Expenses. Except as specifically provided for herein, each of

        the Parties to this Stipulated Judgment shall bear its own costs arising out of and/or

        relating to the Amended Complaint.

               3.      Deadlines. All deadlines and dates for performance by Plaintiffs and/or

        the Brooklyn Defendants under this Stipulated Judgment may be extended or modified by

        written agreement between NFHA and the Brooklyn Defendants.

               4.      Authority to Contract. The Parties hereby mutually acknowledge,

        represent and warrant that the persons executing this document on their behalf are vested

        with complete and legal authority to execute agreements, and specifically, the instant

        Stipulated Judgment on their behalf.

               5.      Severability. Each provision and term of this Stipulated Judgment shall

        be interpreted in such a manner as to be valid and enforceable. In the event any provision



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         or term of this Stipulated Judgment is determined to be, or is rendered, invalid or

         unenforceable, all other provisions or terms of this Stipulated Judgment shall remain

         unaffected to the extent permitted by law.

                6.      Notice to the Parties. All notices required or permitted hereunder shall be

         in writing and shall be served on the Parties at the addresses or e-mail addresses set forth

         below. If sent by overnight delivery, notice shall be deemed delivered one (1) business

         day after deposit with a nationally recognized overnight courier. Personal delivery shall

         be deemed delivered upon the date the same was actually delivered. E-mail notices shall

         be deemed delivered the day the same was sent, provided that the sender has retained a

         copy and the same was properly sent.

                a. Notices to Plaintiffs shall be sent to:

                        National Fair Housing Alliance
                        Attn: Shanna Smith, CEO and President
                        1101 Vermont Ave., NW, Suite 710
                        Washington, DC 20005
                        ssmith@nationalfairhousing.org

                        Any notice to Plaintiffs must also be sent to counsel for Plaintiffs:

                        Michael Allen, Esq.
                        Relman, Dane & Colfax PLLC
                        1225 19th St., NW, Suite 600
                        Washington, DC 20036
                        mallen@relmanlaw.com

                b. Notices to the Brooklyn Defendants shall be sent to:

                        Andrew W. Gruber
                        Bingham Greenebaum Doll LLP
                        2700 Market Tower
                        10 West Market Street
                        Indianapolis, IN 46204

                7. Entire Agreement. This Stipulated Judgment constitutes the entire agreement

         between the Parties with respect to the subject matter hereof and supersedes all prior

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         agreements, understandings, expectations and discussions of or between the Parties,

         whether oral or written, and there are no representations or other agreements between the

         Parties respecting the subject matter hereof.



                                  III. ENTRY OF JUDGMENT.

   SO ORDERED this ________day of ________, 2012

   .

                                               _______________________________________
                                               UNITED STATES DISTRICT COURT JUDGE




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                                      Respectfully Submitted,



                                      /s/ Michael G. Allen
                                      Michael G. Allen
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                                      Thomas J. Keary
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                                      Attorneys for Plaintiffs

                                      Dated: October 12, 2012



                                      /s/ Andrew W. Gruber
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                                      Attorney for the Brooklyn Defendants

                                      Dated: October 12, 2012

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                                   CERTIFICATE OF SERVICE

           I hereby certify that on October 12, 2012, a copy of the foregoing Stipulated Judgment
   was electronically filed with the Clerk of the Court using the CM/ECF system and will be
   electronically sent to all parties of record by the Court’s electronic filing system.

   David K. Herzog                                  Andrew W. Gruber
   Harmony A. Mappes                                BINGHAM MCHALE LLP
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   (317) 237-1240                                   Fax: (317)236-9907
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           I further certify that I have mailed a copy of the foregoing document via the U.S. Postal
   Service to the following non-CM/ECF participants: None.


                                                 /s/ Michael G. Allen s
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                                                Stephen M. Dane*
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